               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:09-CR-23-6


UNITED STATES OF AMERICA                      )
                                              )
Vs.                                           )            ORDER
                                              )
PHILLIP EUGENE HILL.                          )
______________________________________        )


        THIS MATTER is before the court pursuant to a motion made the defendant

entitled, “Motion to Relieve Counsel” (#264) and a subsequent motions filed by

counsel for the defendant entitled “Motion to Withdraw as Counsel and for an Order

Appointing New Counsel and for Postponement of Sentencing Hearing” (#265) and

“Amended Motion to Withdraw as Counsel and For an Order Appointing New

Counsel and For Postponement of Sentencing Hearing” (#267). At the call of these

matters on for hearing, the defendant advised the court that he wished to withdraw his

motion (#264), and upon inquiry the defendant stated that he was satisfied with the

representation of his counsel and he did not wish to present his motion. The court

conducted an inquiry with counsel for the defendant who advised that he had filed his

motions in an effort to assist the defendant. It appearing to the undersigned that the

defendant wishes to withdraw his motion and that this would render the motions of

defendant’s counsel as moot.




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                                 ORDER

       IT IS, THEREFORE, ORDERED that the defendant is allowed to

WITHDRAW his motion (#264) and the motions (#265) & (#267) of defendant’s

counsel to withdraw are DENIED as moot.



                                    Signed: March 24, 2010




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